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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



SECURITIES AND EXCHANGE COMMISSION,

                                 Plaintiff,

                       vs.                                           Case No. 1:20-cv-10832
RIPPLE LABS, INC., BRADLEY GARLINGHOUSE,
and CHRISTIAN A. LARSEN,

                                 Defendants.


                             DECLARATION OF LILYA TESSLER

       I, Lilya Tessler, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the

following is true and correct:

       1.      I am admitted to practice before this Court and am a partner in the law firm of

Sidley Austin LLP, counsel to The Chamber of Digital Commerce (the “Chamber”).

       2.      I submit this Declaration on behalf of the Chamber in order to provide the Court

with a copy of the amicus curiae brief that the Chamber seeks to file in this case.

       3.      The Chamber’s proposed amicus brief is attached hereto as Exhibit A.

 Executed this 14th day of September 2022.
                                                     By: /s/ Lilya Tessler
                                                         Lilya Tessler
                                                         Sidley Austin LLP
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                                                        Attorney for Amicus Curiae
                                                        The Chamber of Digital Commerce




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